       Case 1:07-cr-00268-AWI Document 243 Filed 08/28/09 Page 1 of 2


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     Attorney at Law
 2   2300 Tulare Street, Suite 230
     Fresno, California 93721
 3   Telephone: (559) 237-6000
 4   Attorney for Defendant, BOUAVONE KEOMOUNEPANE
 5
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )              CASE NO. 1:07-cr-00268-OWW
                                 )
10        Plaintiff,             )
                                 )              STIPULATION AND
11      v.                       )              TO CONTINUE SENTENCING
     BOUAVONE KEOMOUNEPANE,      )
12                               )
           Defendant.            )
13   ____________________________)
14        The parties hereto, by and through their respective attorneys, stipulate and
15   agree that the sentencing currently calendared for August 31, 2009, be continued
16   to September 21, 2009 at 9:00 a.m.
17        This continuance is agreed to as the parties require additional time to
18   complete the U.S.S.G. § 5C1.2(a)(5) process.
19        The parties also agree that any delay resulting from this continuance shall
20   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
21   3161(h)(8)(A) and 3161(h)(8)(B)(I).
22
     DATED: August 27, 2009             /s/ Laurel Montoya       __      __
23                                      LAUREL MONTOYA
                                        Assistant United States Attorney
24                                      This was agreed to by Ms. Montoya
                                        via telephone on August 26, 2009
25
26   DATED: August 27, 2009             /s/ Roger K. Litman    __
                                        ROGER K. LITMAN
27                                      Attorney for Defendant
                                        BOUAVONE KEOMOUNEPANE
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       Case 1:07-cr-00268-AWI Document 243 Filed 08/28/09 Page 2 of 2


 1
     IT IS SO ORDERED.
 2
     Dated: August 27, 2009                /s/ Oliver W. Wanger
 3   emm0d6                           UNITED STATES DISTRICT JUDGE
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